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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


 In Re:
                                                                    Case No. 18-06021
 Yanira Reyes                                                       Chapter 7

 Debtor
 _________________________________/

                        TRUSTEE’S APPLICATION TO RETAIN
     BK GLOBAL REAL ESTATE SERVICES TO PROCURE SALE PURSUANT TO 11 U.S.C. § 327


          COMES NOW the Chapter 7 Trustee, Arvind Mahendru, files this Application to Retain BK Global

Real Estate Services to procure consented public sale pursuant to 11 U.S.C. § 327, states as follows:


          1.   Arvind Mahendru, is the duly qualified and acting Chapter 7 Trustee of the bankruptcy estate of

               Yanira Reyes .

          2. An asset of the bankruptcy estate is real property located at 11961 Blackheath Circle, Orlando, FL

               hereinafter referred to as the “Real Property”.

          3. The Debtor(s) have not declared the Real Property as exempt.

          4. The Debtor(s) listed the Real Property on their schedules as having a value of 104,863.00

          5. The Real Property is subject to the following mortgage(s) or lien(s):

                   a. First Mortgage Holder: Wells Fargo Home Mortgage

          6. The Secured Creditors holding mortgages or liens pursuant to the Debtor’s Schedules or filed proofs

               of claims setting forth the following balances due and owing on the Real Property:

                   a. Wells Fargo in an amount exceeding $193,995.00

          7. Based upon the market value of the Real Property provided by the Debtor(s), the first mortgage debt

               is in excess of the market value of the Real Property.

          8. BK Global Real Estate Services (“BK Global”) provides services to trustees as BK Global has

               expertise and experience in assisting the trustee in negotiating with secured creditors to accomplish

               the following:
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        a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter 7 Trustee

            determines to have made the best qualified offer with the sale approved by the Court,

            pursuant to 11 U.S.C. § 363;

        b. Obtain the release the senior mortgage and waive all of its claims against the estate with

            respect to the Real Property (including any deficiency claims resulting from the proposed

            sale);

        c. Work with the secured mortgage holder to enter into an agreement for an 11 U.S.C. § 506

            surcharge to pay all of the closing expenses associated with the § 363 sale, including the

            payment of a six percent (6%) real estate brokerage commission and reimbursement of their

            out-of-pocket expenses to BK Global and any associated real estate professional, paid from

            the proceeds of the sale, and provide a meaningful carve out of 3% - 5% of the sale price for

            the benefit of the Bankruptcy Estate; and

        d. Make certain the amount of the carve out is clearly set out in the motion to sell the Real

            Property pursuant to 11 U.S.C. § 363.

9. BK Global will assist the Chapter 7 Trustee in negotiations with the first mortgage holder to obtain

    the consent of the first mortgage holder for the sale of the Real Property. The secured creditor will

    agree to a carve out from the sale price of the Real Property for the payment of a six percent (6%)

    real estate commission to BK Global, and any associated real estate professional, and a carve out of

    3% - 5% of the sale price paid to the Bankruptcy Estate, which will result in a meaningful

    distribution. Upon a successful resolution with the Secured Creditor a separate motion will be filed

    seeking approval of the settlement terms and conditions.

10. BK Global will not be entitled to any fees if the first mortgage holder does not grant its consent or

    the Court does not grant the motion to approve the sale of the Real Property.

11. In no event will the bankruptcy estate have any obligation to pay BK Global or associated real estate

    professional for their services, or to pay the customary title and closing services. The terms of the

    listing agreement and this Application provide that BK Global or associated real estate professional

    are only entitled to payment if and when (a) secured creditor grants its consent, (b) the motion to
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            approve sale is granted and (c) the Real Property is sold, in which event BK Global or associated

            real estate professional will receive a six percent (6%) real estate brokerage commission and obtain

            reimbursement of any out-of-pocket expenses.

        12. The Trustee believes that the highest and best value for the Real Property will be generated through

            a sale in which the Real Property is widely marketed to the public and offered at the highest price

            that the market will bear. The Trustee further believes that such a sale is in the best interest of the

            Debtor’s bankruptcy estate but can only be achieved if the Secured Creditor’s consent is first

            obtained. The Chapter 7 trustee believes that retaining BK Global and/or an associated real estate

            professional to obtain the secured creditor’s consent is in the best interest of the Debtor’s bankruptcy

            estate.

        13. The Trustee submits that the terms of employment and compensation as set out in this application

            and the listing agreement (Exhibit “A”), are reasonable in light of the extensive experience of BK

            Global and any associated real estate professional, and the nature of the services they provide.

        14. BK Global attested that it is a disinterested person within the meaning of Section 101(14) of the

            Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached hereto as

            Exhibit “B” is an Affidavit of Disinterestedness of BK Global. BK Global also attests, pursuant to

            Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or entity other than

            listing agent or a buyer’s agent, if applicable.


        WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s authority to retain BK

Global in this case and requests that the Court approve the compensation arrangements set forth in the listing

agreement and this application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and for such

other and further relief as the Court determines is appropriate.


                                         CERTIFICATE OF SERVICE


        I hereby certify that on May 16, 2019 the above and foregoing document was filed electronically using
CM/ECF and a true and correct copy of this document was served as follows:

Yanira Reyes, 11961 Blackheath Circle, Orlando, FL 32837;
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Monica A Santiago, Law Offices of Monica A Santiago, PA, 685 S. Ronald Reagan Blvd.,
Longwood, FL 32750
US Trustee, Via ECF




                                         /s/Arvind Mahendru
                                         Arvind Mahendru, Trustee
                                         5703 Red Bug Lake Road, #284
                                         Winter Springs, FL 32708
                                         407-504-2462
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                                                    EXHIBIT A


                             BK Global Real Estate Brokerage Listing Agreement



This Real Estate Brokerage Listing Agreement (“Agreement”) is between

Arvind Mahendru (“TRUSTEE”) and BK Global Real Estate Services LLC (“BROKER”)

Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in the sale of
the real and personal property (collectively “Property”) described below:

11961 Blackheath Circle Orlando, FL 32837

Upon full execution of a contract for sale and purchase of the Property and court approval, all rights and
obligations of this Agreement will automatically extend through the date of the actual closing of the sales
contract. Trustee and Broker acknowledge that this Agreement does not guarantee a sale. This Property will
be offered to any person without regard to race, color, religion, sex, handicap, familial status, national origin,
or any other factor protected by federal, state, or local law. Trustee certifies and represents that she/he/it is
legally entitled to convey the Property and all improvements.

Price: The starting listing price of the property will be: If there are no acceptable offers after 15 days, the list
price will be reduced 5% and will reoccur every 15 days until the listing expires or if an acceptable offer is
received.

Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to procure the
consent and agreement of the senior mortgagee (“Secured Creditor”) to:

    a) Sell the Property under 11 U.S.C. § 363(b) to whichever third party you determine to have made the
       best qualified offer during a public sale approved by the court or agree to 11 U.S.C. § 363(k) and place
       a credit bid on the Property from the estate;

    b) Release its lien with respect to the Property; and

    c) Agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any commission payable to the
       local real estate broker and all other fees and expenses associated with the sale, and (y) provide a
       carve-out for the benefit of allowed unsecured creditors of the estate.




Brokers Duties: Broker or associated real estate professional duties will include but will not be limited to the
following services;
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       Researching the real estate, running title and lien searches to identify creditors for resolution and any title
        issues.
       Advising the trustee of any issues and discuss potential resolutions.
       Conducting the resolutions under the trustee’s direction.
       Assisting the trustee in the collection of documents and information for employment.
       Making and identifying the correct contact with the secured creditors.
       Notifying the secured creditor of the upcoming sale and identifying servicer requirements.
       Assisting the trustee in establishing market value and negotiating with the Servicer an acceptable sales
        price and establishing a carve-out.
       Development of online marketing, email campaign and full nationwide marketing services.
       Conducting an online sale.
       Use of the BK Global technology platform.
       Assist the trustee in the review of all offers and coordinate the final documentation of the offer accepted by
        the trustee.
       Managing contract requirements such as inspections, appraisals and HOA applications.
       Coordinating closings and assisting the trustee in the collection of required information for court filing.
       Closing the transaction and ensure the estate has received the appropriate funds.
       Inspecting the property and completing a broker’s price opinion.
       Listing the property in the multiple listing service (MLS).
       Posting a for sale sign in the yard and coordinating showings.

Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

    a) Cooperate with Broker in carrying out the purpose of this Agreement
    b) Provide Broker with keys to the Property and make the Property available for Broker to show during
       reasonable times.
    c) File all court motions and documents in a timely manner to ensure a successful sale.
    d) Advise Broker of any special issues our court requirements.




Term of Agreement: The term of this Agreement will commence when signed by the Trustee and the court
approves it. This Agreement will automatically terminate upon the closing of the sale of the Property, or it
may be terminated by either party for any or no reason after 180 days from commencement. In addition, this
Agreement will be terminated if the Trustee files a Report of No Distribution, files a Notice of Abandonment
of the subject property, or submits a Trustee’s Final Report to the Office of the United States Trustee.

Broker acknowledges and agrees that (a) the Trustee is not executing this Agreement in an individual
capacity, but solely as trustee of the estate, (b) Broker does not and will not have any right or claim with
respect to the estate and (c) Brokers sole recourse for payment of real estate commission, fees and expenses
will be paid at closing with court approval and under the Consent of the Secured.

This Agreement constitutes our complete agreement on this matter and supersedes all prior agreements and
representations concerning the same. It may not be modified or amended except in a writing signed by both
parties.

The effective date of this agreement is __________________.
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BROKER:




By:                                       Acknowledged and agreed as of the date set forth above.
      Patrick Butler, Broker-in-Charge




TRUSTEE:




/s/ Arvind Mahendru     Acknowledged and agreed as of the date set forth above.
Arvind Mahendru, not individually but solely as Trustee in the referenced matter.
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